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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

       v.

INTERNET RESEARCH AGENCY, LLC,                         Criminal No. 18-cr-32 (DLF)
ET AL.

               Defendant.


             GOVERNMENT’S MOTION REGARDING STATUS OF SERVICE

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

respectfully moves the Court to order the government to submit a status report, in lieu of a hearing,

regarding service by September 7, 2018. During the May 9, 2018 arraignment of Defendant

Concord Management and Consulting, LLC, the Court set a control date of July 9, 2018, to receive

an update regarding service of the summons on two codefendants, Concord Catering and Internet

Research Agency, LLC. The government has submitted service requests to the Russian government

pursuant to a mutual legal assistance treaty. To the government’s knowledge, no further steps have

been taken within Russia to effectuate service. The government therefore respectfully requests that

the Court order the government to submit a status report, in lieu of a hearing, regarding service by

September 7, 2018.


Dated: July 6, 2018                                   Respectfully submitted,

JESSIE K. LIU                                         ROBERT S. MUELLER III
U.S. Attorney for the District of Columbia            Special Counsel

                                              By:            /s/ Ryan K. Dickey
Deborah Curtis                                        Jeannie S. Rhee
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Kathryn Rakoczy                                       Ryan K. Dickey
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